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STATE oF oKLAHoMA

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l. TYLER SCHELLER,

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1. THE WH,,I_,.IAMS COMPANIES, INC., and RNBY LIEN CLAIMED
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2. WILLIAMS WPC-l, LLC )
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Dct`endants.
ENTRY OF APPEARANCE
COMES NOW Mark Hammons of I~Iammons, Gowens, Hurst & Associates, and
hereby enters his appearance as an attorney for the Plaintiff in the above captioned action.
l cenit`y that 1` am admitted to practice in this Court.

RESPECTFULLY SUBMITTED THIS 5"‘ I)AY ()F MAY, 2017.

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HAMMONS, GoWENS & HU`T’<ST_
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